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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
FELIPE FERNANDEZ, on behalf of himself and :
all others similarly situated,                                         :
                                                                       :   Case No.: 24-9006
                               Plaintiffs,                             :
                                                                       : CLASS ACTION COMPLAINT
                               v.                                      : AND DEMAND FOR JURY TRIAL
                                                                       :
GCP WW HOLDCO, LLC,                                                    :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                            INTRODUCTION
           1.       Plaintiff FELIPE FERNANDEZ (“Plaintiff”) on behalf of himself and

others similarly situated, asserts the following claims against Defendant GCP WW

HOLDCO, LLC, (“Defendant”) as follows.

           2.       Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using the computer. Plaintiff uses the terms

“blind” or “visually-impaired” as Plaintiff’s central visual acuity with correction is less

than or equal to 20/200.

           3.       Based on a 2020 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired 1, including 2.0 million who are blind.

According a 2016 report published by the National Federation of the Blind, 2016 report,

approximately 418,500 visually impaired persons live in the State of New York. 2




1
    See United States Census Bureau Report.
2
    See 2016 Report – National Federation for the Blind.


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       4.      Plaintiff brings this civil rights action against Defendant for the failure to

design, construct, maintain, and operate Defendant’s website, www.workworld.com (the

“Website”), to be fully accessible to and independently usable by Plaintiff and other blind

or visually-impaired people. Defendant’s denial of full and equal access to the Website,

and therefore denial of the goods and services offered thereby, is a violation of Plaintiff’s

rights under the Americans with Disabilities Act (“ADA”).

       5.      Congress provides a clear and national mandate for the elimination of

discrimination against individuals with disabilities. Such discrimination includes barriers

to full integration, independent living, and equal opportunity for persons with disabilities,

including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons. Similarly, New York City law requires

places of public accommodation to ensure access to goods, services, and facilities by

making reasonable accommodations for persons with disabilities.

       6.      Defendant’s website is not equally accessible to blind and visually impaired

consumers; therefore, Defendant is in violation of the ADA. Plaintiff now seeks a

permanent injunction to cause a change in Defendant’s corporate policies, practices, and

procedures so that Defendant’s Website will become and remain accessible to blind and

visually-impaired consumers.

                             JURISDICTION AND VENUE
       7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12182, et seq.




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          8.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) claims.

          9.       Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of

business in this District, and a substantial portion of the conduct complained of herein

occurred in this District because Plaintiff attempted to utilize, on a number of occasions,

the subject Website within this Judicial District.

          10.      Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of New

York that caused injury and violated rights the ADA prescribes to Plaintiff and to other

blind and other visually impaired-consumers. A substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in this District: on several separate occasions,

Plaintiff has been denied the full use and enjoyment of the facilities, goods and services

offered to the general public, on Defendant’s Website in Westchester County. These access

barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access

multiple times in the past, and now deter Plaintiff on a regular basis from accessing the

Defendant’s Website in the future.

          11.      The United States Department of Justice Civil Rights Division has recently

issued that “the Department has consistently taken the position that the ADA’s

requirements apply to all the goods, services, privileges, or activities offered by public

accommodations, including those offered on the web.” 3



3
    See Guidance on Web Accessibility and the ADA.


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       12.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                        THE PARTIES
       13.      Plaintiff FELIPE FERNANDEZ, at all relevant times, is and was a resident

of Westchester County, New York.

       14.      Plaintiff is a blind, visually-impaired handicapped person and a member of

a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and NYCHRL.

       15.      Upon information and belief, Defendant is, and at all relevant times was,

doing business in this jurisdiction.

       16.      Defendant’s Website, and the goods and services offered thereupon, is a

public accommodation within the definition of Title III of the ADA, 42 U.S.C. §

12181(7)(j).

                                         STANDING

       17.      Plaintiff FELIPE FERNANDEZ is a blind, visually-impaired handicapped

person and a member of a protected class of individuals under the ADA, under 42 U.S.C.

§ 12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101

et seq., and NYCHRL.

       18.      Consumers such as the Plaintiff may purchase Defendant’s products and

access other brand related content and services at the Website Defendant owns, operates,

and controls.

       19.      In addition to researching and purchasing Defendant’s products and

services, consumers may also use Defendant’s Website to sign up to receive product

updates, product news, and receive special promotions not available elsewhere.


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       20.     Plaintiff was injured when Plaintiff attempted multiple times, most recently

on August 19, 2024 to access Defendant’s Website from Plaintiff’s home in an effort to

shop for Defendant’s products, but encountered barriers that denied the full and equal

access to Defendant’s online goods, content, and services.

       21.     Specifically, Plaintiff wanted to purchase outdoor apparel.

       22.     Plaintiff wished to purchase this product because he was searching for a

durable outdoor apparel suitable for his work needs. He wanted to find a store that would

offer a wide selection of specialized workwear designed for outdoor use, prioritizing

durability and practicality in his choice.

       23.     Plaintiff came across Defendant’s Website via “Google” search. This

Website holds themselves out as an online store renowned for being a leading retailer of

workwear, safety gear, and footwear. It specializes in providing durable, high-quality

clothing and equipment for, offering premium products and expert service. The Website

also offers free shipping. Therefore, Plaintiff desired to buy products from the Website.

       24.     Unfortunately, Plaintiff was unable to complete the purchase due to the

inaccessibility of Defendant’s Website.

       25.      Due to Defendant’s failure to build the Website in a manner that is

compatible with screen access programs, Plaintiff was unable to understand and properly

interact with the Website, and was thus denied the benefit of purchasing the outdoor

apparel, that Plaintiff wished to acquire from the Website.

       26.     The law requires that the Defendant reasonably accommodate Plaintiff’s

disabilities by removing these existing access barriers.




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       27.       Plaintiff has been, and in absence of an injunction, will continue to be

injured by Defendant’s failure to provide the online content and services in a manner that

is compatible with screen-reader technology.

       28.       Defendant’s denial of full and equal access to and enjoyment of the goods,

benefits, and services of the Website, has caused Plaintiff to suffer an injury in fact due to

Plaintiff’s inability to purchase outdoor apparel, which is a concrete and particularized

injury, and is a direct result of Defendant’s conduct.

       29.       Despite this direct harm and frustration, Plaintiff intends to attempt to

access the Website in the future to purchase products and services the Website offers, and

more specifically outdoor apparel, if remedied.

                                   NATURE OF ACTION
       30.       The Internet has become a significant source of information, a portal, and a

tool for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind, and visually-impaired

persons alike.

       31.       In today’s tech-savvy world, blind and visually impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software. Screen-

reading software is currently the only method a blind or visually-impaired person may use

to independently access the internet. Unless websites are designed to be read by screen-

reading software, blind and visually-impaired persons are unable to fully access websites,

and the information, products, and goods contained thereon.




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       32.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer. Another

popular screen-reading software program available for a Windows computer is NonVisual

Desktop Access “NVDA”.

       33.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same content

available to sighted users.

       34.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web

Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established

guidelines for making websites accessible to blind and visually-impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure websites are accessible.

       35.     Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually impaired persons

include, but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and




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        navigation;

        c.      Equivalent text is not provided when using scripts;

        d.      Forms with the same information and functionality as for sighted

        persons are not provided;

        e.      Information about the meaning and structure of content is not

        conveyed by more than the visual presentation of content;

        f.      Text cannot be resized without assistive technology up to 200%

        without losing content or functionality;

        g.      If the content enforces a time limit, the user is not able to extend,

        adjust or disable it;

        h.      Web pages do not have titles that describe the topic or purpose;

        i.      The purpose of each link cannot be determined from the link text

        alone or from the link text and the programmatically determined link

        context;

        j.      One or more keyboard operable user interface lacks a mode of

        operation where the keyboard focus indicator is discernible;

        k.      The default human language of each web page cannot be

        programmatically determined;

        l.      When a component receives focus, it may initiate a change in

        context;

        m.      Changing the setting of a user interface component may

        automatically cause a change of context where the user has not been advised

        before using the component;




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               n.      Labels or instructions are not provided when content requires user

               input, which include captcha prompts that require the user to verify that he

               or she is not a robot;

               o.      In content which is implemented by using markup languages,

               elements do not have complete start and end tags, elements are not nested

               according to the specifications, elements may contain duplicate attributes,

               and/or any IDs are not unique;

               p.      Inaccessible Portable Document Format (PDF); and,

               q.      The name and role of all User Interface elements cannot be

               programmatically determined; items that can be set by the user cannot be

               programmatically set; and/or notification of changes to these items is not

               available to user agents, including assistive technology.

       36.     Websites have features and content that are modified on a daily, and in some

instances hourly basis and a one time “fix” to an inaccessible digital platform will not cause

the digital platform to remain accessible without a corresponding in change in corporate

policies related to those web-based technologies. To evaluate whether an inaccessible

website has been rendered accessible, and whether corporate policies related to website

technologies have been changed in a meaningful manner that will cause the website to

remain accessible, the website must be reviewed on a periodic basis using both automated

accessibility screening tools and end user testing by disabled individuals.

                                STATEMENT OF FACTS
       37.     Defendant is a company that owns and operates the Website, offering

features which should allow all consumers to access the goods and services and by which




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Defendant ensures the delivery of such goods throughout the United States, including New

York State.

       38.     Defendant’s Website offers products and services for online sale and

general delivery to the public. The Website offers features which ought to allow users to

browse for items, access navigation bar descriptions, inquire about pricing, and avail

consumers of the ability to peruse the numerous items offered for sale.

       39.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website multiple times, most recently on August 19, 2024 using a screen-reader.

       40.     Specifically, Plaintiff wanted to purchase outdoor apparel.

       41.     Plaintiff wished to purchase this product because he was searching for a

durable outdoor apparel suitable for his work needs. He wanted to find a store that would

offer a wide selection of specialized workwear designed for outdoor use, prioritizing

durability and practicality in his choice.

       42.     Plaintiff came across Defendant’s Website via “Google” search. This

Website holds themselves out as an online store renowned for being a leading retailer of

workwear, safety gear, and footwear. It specializes in providing durable, high-quality

clothing and equipment for, offering premium products and expert service. The Website

also offers free shipping. Therefore, Plaintiff desired to buy products from the Website.

       43.     On August 19, 2024 Plaintiff visited Defendant’s website to purchase

outdoor apparel. Despite Plaintiff’s efforts, however, Plaintiff was denied a shopping

experience similar to that of a sighted individual due to the website’s lack of a variety of




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features and accommodations, which effectively barred Plaintiff from having an

unimpeded shopping experience.

       44.     The Website contains access barriers that prevent free and full use by the

Plaintiff using keyboards and screen-reading software. These barriers include but are not

limited to: missing alt-text, hidden elements on web pages, incorrectly formatted lists,

unannounced pop ups, unclear labels for interactive elements, and the requirement that

some events be performed solely with a mouse.

       45.     The Website also contained a host of broken links, which is a hyperlink to

a non-existent or empty webpage. For the visually impaired this is especially paralyzing

due to the inability to navigate or otherwise determine where one is on the website once a

broken link is encountered.

       46.     Specifically, on the desired product page, images on the website have no

alternative text. The user is unaware what the non-text content is and what information is

missing.

       47.     Additionally, there is a hidden element on the web page and its content is

not voiced or is incorrectly perceived by the screen reader. The user does not know which

interactive elements were skipped, as well as the page having ambiguous link text. The link

text does not describe the content of the link target. There are no details what kind of

information/content can be found on the destination page. Users must understand the

purpose of each link so they can decide whether they want to follow the link.

       48.     Furthermore, on the home page, 'skip to content' link is not implemented.

Website does not provide the mechanism to bypass repeated blocks of content by skipping

directly to the main content of the web page.




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       49.     Finally, when attempting to check out, clear and unambiguous label was not

provided for the form field. Labels with enough information must be applied to avoid

confusion, and prevent assistive technology users from making incorrect form submissions,

as well as interactive element (like checkbox, radio button, etc.) does not announce its state,

and/or value information. The users should have sufficient information about the state

and/or value of the interactive element if they decide to activate it or not.

       50.     These access barriers effectively denied Plaintiff the ability to use and enjoy

Defendant’s website the same way sighted individuals do.

       51.     Plaintiff intends to visit the Website in the near future if it is made

accessible.

       52.     Defendant has denied Plaintiff, along with other blind or visually-impaired

users, access to Defendant’s website, and to therefore specifically deny the goods and

services that are offered to the general public. Due to Defendant’s failure and refusal to

remove access barriers to the website, Plaintiff and visually-impaired persons have been

and are still being denied equal access to Defendant’s Website, and the numerous goods

and services and benefits offered to the public through the Website.

       53.     Due to the inaccessibility of Defendant’s Website, blind and visually-

impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally

use or enjoy the facilities, products, and services Defendant offers to the public on the

Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full

and equal access in the past, and now deter Plaintiff on a regular basis from equal access

to the Website.




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          54.     If the Website were equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

          55.     Through Plaintiff’s attempts to use the Website, Plaintiff has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

          56.     Because simple compliance with the WCAG 2.1 Guidelines would provide

Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

                  a.      Constructing and maintaining a website that is inaccessible to

                  visually-impaired individuals, including Plaintiff;

                  b.      Failure to construct and maintain a website that is sufficiently intuitive

                  so as to be equally accessible to visually impaired individuals, including

                  Plaintiff; and,

                  c.      Failing to take actions to correct these access barriers in the face of

                  substantial harm and discrimination to blind and visually-impaired

                  consumers, such as Plaintiff, as a member of a protected class.

          57.     Defendant therefore uses standards, criteria, or methods of administration that

have the effect of discriminating or perpetuating the discrimination of others, as alleged

herein.

          58.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

this action. In relevant part, the ADA requires:

          In the case of violations of . . . this title, injunctive relief shall include an order to
          alter facilities to make such facilities readily accessible to and usable by individuals



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       with disabilities . . . [w]here appropriate, injunctive relief shall also include
       requiring the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

       59.     Because Defendant’s Website has never been equally accessible, and

because Defendant lacks a corporate policy that is reasonably calculated to cause the

Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

seeks a permanent injunction requiring Defendant to retain a qualified consultant

acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with

WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this permanent

injunction requires Defendant to cooperate with the Agreed Upon Consultant to:

               a.     Train Defendant’s employees and agents who develop the Website

               on accessibility compliance under the WCAG 2.1 guidelines;

               b.     Regularly check the accessibility of the Website under the WCAG

               2.1 guidelines;

               c.     Regularly test user accessibility by blind or vision-impaired persons

               to ensure that Defendant’s Website complies under the WCAG 2.1

               guidelines; and,

               d.     Develop an accessibility policy that is clearly disclosed on Defendant’s

               Websites, with contact information for users to report accessibility-related

               problems.

       60.     Although Defendant may currently have centralized policies regarding

maintaining and operating the Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by, blind

and other visually-impaired consumers.



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       61.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining the Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making Defendant’s

Website equally accessible to visually impaired customers.

       62.     Without injunctive relief, Plaintiff and other visually-impaired consumers

will continue to be unable to independently use the Website.

                            CLASS ACTION ALLEGATIONS
       63.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify

a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the United States who have attempted to access Defendant’s Website and as a result have

been denied access to the equal enjoyment of goods and services, during the relevant

statutory period.

       64.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify

a New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the City of New York who have attempted to access Defendant’s Website and

as a result have been denied access to the equal enjoyment of goods and services offered,

during the relevant statutory period.

       65.     Common questions of law and fact exist amongst the Class, including:

               a.      Whether Defendant’s Website is a “public accommodation” under

               the ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

               accommodation” under the NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment




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               of   the   products,    services,    facilities,   privileges,    advantages,    or

               accommodations to people with visual disabilities, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment

               of   the   products,    services,    facilities,   privileges,    advantages,    or

               accommodations to people with visual disabilities, violating the NYCHRL.

       66.     Plaintiff’s claims are typical of the Class. The Class, similarly to the

Plaintiff, are severely visually impaired or otherwise blind, and claim that Defendant has

violated the ADA or NYCHRL by failing to update or remove access barriers on the

Website so either can be independently accessible to the Class.

       67.     Plaintiff will fairly and adequately represent and protect the interests of the

Class Members because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests

antagonistic to the Class Members. Class certification of the claims is appropriate under

Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

applicable to the Class, making appropriate both declaratory and injunctive relief with

respect to Plaintiff and the Class as a whole.

       68.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions common to Class Members predominate over questions

affecting only individual Class Members, and because a class action is superior to other

available methods for the fair and efficient adjudication of this litigation.

       69.     Judicial economy will be served by maintaining this lawsuit as a class action

in that it is likely to avoid the burden that would be otherwise placed upon the judicial




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system by the filing of numerous similar suits by people with visual disabilities throughout

the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.
       70.      Plaintiff, on behalf of himself and the Class Members, repeats and realleges

every allegation of the preceding paragraphs as if fully set forth herein.

       71.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).

       72.     Defendant’s Website is a public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

general public, and as such, must be equally accessible to all potential consumers.

       73.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in or

benefit from the products, services, facilities, privileges, advantages, or accommodations

of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

       74.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in or

benefit from the products, services, facilities, privileges, advantages, or accommodations,

which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

12182(b)(1)(A)(ii).

       75.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

also includes, among other things:


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       [A] failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities, unless
       the entity can demonstrate that making such modifications would fundamentally
       alter the nature of such goods, services, facilities, privileges, advantages or
       accommodations; [and] a failure to take such steps as may be necessary to ensure
       that no individual with a disability is excluded, denied services, segregated or
       otherwise treated differently than other individuals because of the absence of
       auxiliary aids and services, unless the entity can demonstrate that taking such steps
       would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       76.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

persons under the ADA, has a physical disability that substantially limits the major life

activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

Plaintiff has been denied full and equal access to the Website, has not been provided

services that are provided to other patrons who are not disabled, and has been provided

services that are inferior to the services provided to non-disabled persons. Defendant has

failed to take any prompt and equitable steps to remedy the discriminatory conduct as the

violations are ongoing.

       77.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff, requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL
       78.     Plaintiff, on behalf of himself and the New York City Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       79.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person who is the owner, franchisor, franchisee,



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lessor, lessee, proprietor, manager, superintendent, agent or employee of any place or

provider of public accommodation: [b]ecause of any person’s . . . disability . . . directly or

indirectly: [t]o refuse, withhold from or deny to such person the full and equal enjoyment,

on equal terms and conditions, of any of the accommodations, advantages, services,

facilities or privileges of the place or provider of public accommodation”.

       80.     Defendant’s Website is a sales establishment and public accommodations

within the definition of N.Y.C. Admin. Code § 8-102(9).

       81.     Defendant is subject to NYCHRL because it owns and operates the Website,

making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

       82.     Defendant is in violation of N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing the Website and the

services integrated with such Website to be completely inaccessible to the blind. This

inaccessibility denies blind patrons full and equal access to the facilities, products, and

services that Defendant makes available to the non-disabled public.

       83.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability not to provide a reasonable accommodation

to enable a person with a disability to satisfy the essential requisites of a job or enjoy the

right or rights in question provided that the disability is known or should have been known

by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

       84.     Defendant’s actions constitute willful intentional discrimination against the

Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-

107(4)(a) and § 8-107(15)(a) in that Defendant has:




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                a.      constructed and maintained a website that is inaccessible to blind

                class members with knowledge of the discrimination; and/or

                b.      constructed and maintained a website that is sufficiently intuitive

                and/or obvious that is inaccessible to blind class members; and/or

                c.      failed to take actions to correct these access barriers in the face of

                substantial harm and discrimination to blind class members.

        85.     Defendant has failed to take any prompt and equitable steps to remedy the

discriminatory conduct as these violations are ongoing.

        86.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis

of disability in the full and equal enjoyment of the products, services, facilities, privileges,

advantages, accommodations and/or opportunities of the Website under N.Y.C.

Administrative Code § 8-107(4)(a). Unless the Court enjoins Defendant from continuing

to engage in these unlawful practices, Plaintiff and members of the class will continue to

suffer irreparable harm.

        87.     Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes the right to injunctive relief to remedy the discrimination.

        88.     Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as

well as punitive damages pursuant to § 8-502.

        89.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.




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       90.      Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                               THIRD CAUSE OF ACTION
                                DECLARATORY RELIEF
       91.      Plaintiff, on behalf of himself and the Class and New York City Sub-Classes

Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

       92.      An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the Website

contains access barriers denying blind customers the full and equal access to the products,

services and facilities of the Website, which Defendant owns, operates and controls, fails

to comply with applicable laws including, but not limited to, Title III of the Americans

with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C. Admin. Code § 8-107, et

seq. prohibiting discrimination against the blind.

       93.      A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know its respective rights and duties and act accordingly.

                                  PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                a.     A preliminary and permanent injunction to prohibit Defendant from

                violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

                b.     A preliminary and permanent injunction requiring Defendant to take




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                all the steps necessary to make the Website fully compliant with the

                requirements set forth in the ADA, and the implementing regulations, so

                that the Website is readily accessible to and usable by blind individuals;

                c.      A declaration that Defendant owns, maintains and/or operates the

                Website in a manner that discriminates against the blind and which fails to

                provide access for persons with disabilities as required by Americans with

                Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

                § 8-107, et seq., and the laws of New York

                d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                and Plaintiff’s attorneys as Class Counsel;

                e.      Compensatory damages in an amount to be determined by proof,

                including all applicable statutory and punitive damages and fines, to

                Plaintiff and the proposed class and subclasses for violations of civil rights

                under New York City Human Rights Law and City Law;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.

                             DEMAND FOR TRIAL BY JURY
         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated:      Hackensack, New Jersey
            November 25, 2024
                                               STEIN SAKS, PLLC


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